                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

 UNITED STATES OF AMERICA,                             )
                      Plaintiff,                       )
                                                       )
 vs.                                                   )       CIVIL NO. DNCW3:18CV336
                                                       )       (Financial Litigation Unit)
                                                       )
 OSLLUSIA GATES                                        )
                                 Defendant.            )


                                           COMPLAINT

          The United States of America, by and through its undersigned counsel, for its cause of

action against Defendant states the following:

          l.     Plaintiff is the United States of America ("United States") and this Court has

jurisdiction over the subject matter of this action by virtue of 28 U.S.C. § 1345. This is a debt

collection action pursuant to the Federal Debt Collection Procedures Act of 1990, 28 U.S.C. § 3001

et seq.

          2.     Defendant, Osllusia Gates, is a resident of the City of Charlotte, Mecklenburg

County, North Carolina, residing within the jurisdiction of this Court in the Western District of

North Carolina.

          3.     Defendant is not in military service within the purview of the Soldiers' and Sailors'

Civil Relief Act of 1940, as amended by the Service Members’ Civil Relief Act of 2003.

          4.     Defendant executed a promissory note to secure a loan from the Department of

Education. The loan proceeds were disbursed to or on behalf of Defendant. Defendant has

defaulted on the obligation to repay the loan(s). Pursuant to 34 C.F.R. § 685.202(b), unpaid interest

was capitalized and added to the principal balance.




          Case 3:18-cv-00336-RJC-DSC Document 1 Filed 06/26/18 Page 1 of 2
        5.      Defendant is indebted to Plaintiff in the principal amount of $80,120.48, plus

interest on this principal computed at the applicable note rate in the amount of $38,747.85 as of

June 12, 2018, and interest thereafter on this principal at the applicable note rate from this date

until the date of judgment.

        6.      A copy of the Certificate of Indebtedness establishing the basis for Defendant's

liability for this debt and a copy of the Promissory Note signed by Defendant is attached to this

Complaint as Exhibit A and incorporated by reference.

        7.      Demand has been made upon Defendant by Plaintiff for the amount owed but

Defendant has failed to pay same.

        Wherefore, Plaintiff prays for judgment against Defendant for the total amount of

$118,868.33 as of June 12, 2018, plus interest from the filing of this complaint to the date of

judgment, the costs of this action and such other and further relief to which Plaintiff may be entitled

in law or equity. Plaintiff further demands, pursuant to 28 U.S.C. § 1961, that interest on the

judgment be at the legal rate until paid in full.

        This June 26, 2018.
                                                R. ANDREW MURRAY
                                                UNITED STATES ATTORNEY
                                                WESTERN DISTRICT OF NORTH CAROLINA

                                                s/Tiffany Mallory Moore
                                                Assistant United States Attorney
                                                GASB# 744522
                                                227 West Trade Street, Suite 1650
                                                Charlotte, NC 28202
                                                Ph: 704-344-6222
                                                Fx: 704-227-0248
                                                Tiffany.Moore2@usdoj.gov




       Case 3:18-cv-00336-RJC-DSC Document 1 Filed 06/26/18 Page 2 of 2
